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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                                     Criminal Number:
UNITED STATES OF AMERICA
                                                     Violations:
                      ►~
                                                    15 U.S.C. §§ 2689, 2615(b) (Toxic
MOHAMMAD SIKDER and                                        Substances Control Act)
DISTRICT PROPERTIES, LLC,                           18 U.S.C. § 1001 (False Statements)
                                                    18 U.S.C. § 2 (Aiding and Abetting)
                      Defendants.



                                       INFORMATION
       The Assistant Attorney General charges that, at all times material to this Information:



                                     COUNT ONE
       (Toxic Substances Control Act —Failure to Follow Lead-Safe Work Practices)

       During the time period between approximately July 14, 2014, and September 24, 2015, at

4323 Garfield St. NW, in the District of Columbia, the Defendant, MOHAMMAD SIKDER, did

knowingly cause renovation activity that violated the lead-safe work practice requirements of the

Renovation, Repair, and Painting Rule, 40 C.F.R. § 745.85.

(Toxic Substances Control Act —Failure to Follow Lead-Safe Work Practices in violation of
 Title 15, United States Code, Sections 2689, 2615(b); and Aiding and Abetting, Causing an
            Act to be done, in violation of Title 18, United States Code, Section 2)
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                                      COUNT TWO
            (Toxic Substances Control Act —Failure to Provide Lead Disclosures)

         During the month of July 2017, the Defendant, MOHAMMAD SIKDER, did knowingly

 fail to provide the purchaser of the home at 4323 Garfield St. NW,in the District of Columbia,

 with records and reports pertaining to lead-based paint and lead-based paint hazards, as required

 under the Real Estate Notification and Disclosure Rule, 40 C.F. R. § 745.107.

 (Toxic Substances Control Act —Failure to Provide Lead Disclosures in violation of Title
 15, United States Code, Sections 2689,2615(b); and Aiding and Abetting, Causing an Act to
               be Done,in violation of Title 18, United States Code, Section 2)




                                         COUNT THREE
                                        (False Statements)

        During the approximate time period between 2011 and 2017, in the District of Columbia,

 the Defendant, DISTRICT PROPERTIES, LLC, did knowingly and willfully make materially

 false, fictitious, and fraudulent statements and representations in a matter within the jurisdiction

 of the Environmental Protection Agency, part of the executive branch of the Government of the

 United States; to wit, in forms triggering regulatory oversight of lead-based paint handling in

 homes built prior to 1978, the Defendant understated the ages of homes it intended to renovate.

(False Statements in violation of Title 18, United States Code, Section 1001; and Aiding and
 Abetting, Causing an Act to be Done,in violation of Title 18, United States Code, Section 2)
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                             JEAN E. WILLIAMS
                             DEPUTY ASSISTANT ATTORNEY GENERAL
                             Environment and Natural Resources Division
                             United States Department of Justice


                       BY:
                             Cassand Barnum
                             Trial Attorney
                             Environmental Crimes Section
DATED: June 7, 2019
